
PER CURIAM.
Affirmed. We affirm this case on the following authorities: See Bernard v. Kee Manufacturing Company, Inc., 409 So.2d 1047 (Fla.1982); West v. Caterpillar Tractor Company, Inc., 336 So.2d 80 (Fla.1976); Caplan v. 1616 East Sunrise Motors, Inc., 522 So.2d 920 (Fla. 3d DCA 1988); Clark v. Boeing Company, 395 So.2d 1226 (Fla. 3d DCA 1981); F. &amp; R. Builders v. Lowell *1254Dunn Company, 364 So.2d 826 (Fla. 3d DCA 1978).
